United States Dist@6f Gaiatp0-00607-MMP
Violation Notice ani cee

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Css “E1670454 Ciler | 4293

YOU ARE CHARGED WITH THE FOLLOWING VIOLATION

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East Gate MCAS Miramar CA

Possession of Kedomihe

DEFENDANT INFORAMUAT lo

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YOUR COURT DATE

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Date {rum intel iy) US. Magisirate Judge

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